AO 2458 (Rev. ll/l l) .Iudgment in a Criminal Case

 

 

Sheet l
United States District Court
NORTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
PETER DECOSTER Case Number: CR 14~3024-3-MWB

USM Number: 13585-029

Stuart J. Dornan

Defendant’s Attomey

THE DEFENDANT:

l pleaded guilty to count(s) 3 of the Information filed on May 21, 2014

[] pleaded nolo contendere to count(s)
which was accepted by the court.

 

|:l was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. §§ 331(a) Selling Adulterated Food as a Responsible August 2010 3
and 333(a)(1) Corporate Officer

The defendant is sentenced as provided in pages 2 through 6 of this judgment The sentence is imposed pursuant

to the Sentencing Reform Act of 1984.
|Il The defendant has been found not guilty on count(s)

 

|Il Counts is/are dismissed on the motion of the United States.

_ l'l` IS ORDERED that the defendant must notify the United_ States attorney for this district within 30 days of any chan e of name,
residence, or mailing address until _all fines, restitution,_costs, and special assessments imposed by this judgment are lly pal . Ifor ered to pay
restitution, the defendant must notify the court and United States attorney of material change in economic circumstances

Aprii 13, 2015

Date of Imposition ofJiidgment

 

 
   

Signatureo.ludicialO icer a 7 b

Mark W. Bennett
U.S. District Court Judge
Name and Title ofJudicial Off`icer

‘%/§./5

Date

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AO 245B (Rev. l l/l l) Judgment in Criminal Case
Sheet 2 _ Imprisonment

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DEFENDANT: PETER DECOSTER
CASE NUMBER: CR 14-3024-3-MWB

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of: 3 months on Count 3 of the Information.

l The court makes the following recommendations to the Bureau of Prisons:

That the defendant be designated to FPC Yankton, South Dakota, if commensurate with the defendant’s
security and custody classification needs.

|:| The defendant is remanded to the custody of the United States Marshal.

L'l The defendant shall surrender to the United States Marshal for this district:

El at |:l a.m. El p.m. on

 

El as notified by the United States Marshal.

l The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

l following completion of the appeal process and after codefendant Austin DeCoster has completed his
three-month term of imprisonment

l as notified by the United States Marshal.

|I| as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

 

RETURN
l have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

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Sheet 3 -~ Supervised Release

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DEFENDANT: PETER DECOSTER
CASE NUMBER: CR 14-3024-3-MWB

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 1 year on Count 3 of the Information.

'I`he defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the

custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled

substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

El
\:l
El

|:|

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation of`f'icer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

lf this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the

Schedule o Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.
STANDARD CONDITIONS OF SUPERVISION
l) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation ofhcer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in _ciiminal activity and shall not associate with any person convicted
of a felony, unless granted permission to do so by the probation officer;
10) the defendant shall emiit a probation officer to visit him or her at any time at horne or elsewhere and shall permit confiscation
of any contraband o served in plain view of the probation officer;
ll) th§_ defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
0 icer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s

criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defendant’s compliance with such notification requirement

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Sheet 3C _ Supervised Release

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DEFENDANT; PETER DECOSTER
CASE NUMBER; CR 14-3024-3-MWB
SPECIAL CONDITIONS OF SUPERVISION

The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probati'on Ujj’ice:

1) The defendant must pay any financial penalty that is imposed by this judgment.

2) For as long as the defendant owes any fines or restitution ordered as part of the instant offense, the defendant must
provide the United States Probation Ofi'ice with access to any requested financial information.

3) For as long as the defendant owes any fines or restitution ordered as part of the instant offense, the defendant must

not incur new credit charges or open additional lines of credit without the approval of the United States Probation
Office unless the defendant is in compliance with the installment payment schedule.

Upon a finding of a violation of supervision, l understand the Court may: (l) revoke supervision; (2) extend the term of
supervision; and/or (3) modify the condition of supervision

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

 

 

Defendant ate
U.S. Probation Officer/Designated Witness Sate

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AO 2453 (Rev. ll/l l) ludgment in a Criminal Case
Sheet 5 _ Criminal Monetary Penaltics

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DEFENDAN'I`: PETER DECOSTER
CASE NUMBER: CR 14-3024-3-MWB

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 25 (paid) $ 100,000 (paid) $ 83,008.19
l'_'l The determination of restitution is deferred until . An Amended Judgmem in a Criminal Case (AO 245C) will be entered

after such determination
l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximatelyjpro ortioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664(l) , all nonfederal victims must be paid
before the United States is paid.

Name of Payee Restitution Ordered Priori§y or Percentage
Restitution is ordered to $83,008.19

be paid pursuant to the
Government’s Exhibit
filed on April 13, 2015,
Document No. 114.

TOTALS $83,008.19

t:| Restitution amount ordered pursuant to plea agreement $

 

l The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

|I| The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
E| the interest requirement is waived for the l:| fine El restitution

l:l the interest requirement for the E| fine E| restitution is modified as follows:

* F indings for the total amount of losses are required under Cha ters lO9A, l 10, l lOA, and l l3A ofTitle 18, United States Code, for offenses
committed on or after September 13, 1994, but before April 2 , 1996.

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Sheet 6 - Criminal Monetary Penalties

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DEFENDANT: PETER DECOSTER
CASE NUMBER: CR 14-3024-3-MWB
SCHEDULE OF PAYMENTS

l-laving assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A l Lump sum payment of$ l§3,033.12 due immediately, balance due

E| not later than ,or
l inaccordancewith |Il C, E| D, l:l E, or l Fbelow; or

B |'_'l Payment to begin immediately (may be combined with EI C, |:| D, or L'_l F below); or

C E| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of thisjudgment; or

D |:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E |:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F l Special instructions regarding the payment of criminal monetary penalties:

If not paid in full, the defendant must make payments towards the restitution obligations as a condition of
supervision pursuant to a payment schedule established by the United States Probation Office. For as long as
the defendant owes restitution ordered as part of the instant offense, it must notify the United States Attorney
for the Northern District of Iowa within 30 days of any chan(ge of mailing or residence address that occurs
while any portion of the financial obligations remains unpai .

The $25 special assessment was paid on June 3, 2014, receipt #IAN550001209.
A fine payment in the amount of $100,000 was made on June 3, 2014, receipt #IAN550001209.

llnle_ss the court has expressl ordered otherwise, if this jud ent imposes imprisonment, payment of criminal monetary penalties is due during
impnsoninent. All crimina moneta penalties, except t ose payments made through t e Federal Bureau of Prisons’ lnmate Financia
Responsibility Program, are made to t e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l Joint and Several

Defendant and Codefendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

The defendant’s restitution obligation shall be joint and several with any restitution obligation imposed in United
States v. Quality Egg, LLC, Case No. CR 14-3024-1, and United States v. Austin DeCoster, Case No. CR 14-3024-2.

El The defendant shall pay the cost of prosecution
El The defendant shall pay the following court cost(s):

|Il The defendant shall forfeit the defendant’s interest in the following property to the United States: `

Payments shall be applied in the following order: (l? assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

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